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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-131-TLN

12                                  Plaintiff,           STIPULATION AND ORDER CONTINUING
                                                         STATUS CONFERENCE HEARING DATE AS
13                           v.                          TO DEFENDANTS LEOBARDO MARTINEZ-
                                                         CARRANZA, BRADLEY GENE WARD, AND
14   JOSE MANUEL VALDEZ-TORRES, ET AL.,                  WILLIAM JAMES WELCH ONLY

15                                  Defendants.
                                                         Court: Hon. Troy L. Nunley
16

17

18          Whereas, defense counsel for each of the remaining defendants who are parties to this stipulation
19 desire additional time to allow them to attempt to resolve pretrial this prosecution as defense counsel

20 need to: (1) review scores of telephone conversations, some of which are in Spanish language and

21 others in the English language and often in alleged code, related to alleged multiple drug transactions;

22 (2) review Sentencing Guidelines calculations with their respective clients; and (3) explain the

23 ramifications and consequences of accepting vs. rejecting the plea offers made to their respective client,

24          It is hereby stipulated and agreed by, and between, the United States, on the one hand, and
25 defendants Leobardo Martinez-Carranza, Bradley Gene Ward, and William James Welch, through their

26 respective counsel that:

27          1.       The presently set August 3, 2017, status conference hearing as to these defendants only
28 shall be continued to September 7, 2017, at 9:30 a.m.

                                                         1
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 1          2.       The Court shall find that the denial of the requested continuance would deny respective

 2 counsel for defendant Leobardo Martinez-Carranza, Bradley Gene Ward, and William James Welch the

 3 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 4          3.       The Court shall find that the ends of justice served by the granting of such continuance

 5 outweigh the best interests of the public and these defendants in a speedy trial.

 6          4.       Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4, the Court shall

 7 exclude time from the date of the parties’ stipulation, August 1, 2017, until the proposed September 7,

 8 2017, status conference date from computation of time within which the trial of this matter must be

 9 commenced to allow each defense counsel time to prepare his/her client's defense.

10
     DATED: August 1, 2017                                PHILLIP A. TALBERT
11                                                        United States Attorney

12                                                        /s/ Samuel Wong
                                                   By:
13                                                        SAMUEL WONG
                                                          Assistant United States Attorney
14

15 DATED: August 1, 2017
                                                          /s/ Jesse Ortiz
16                                                 By:
                                                          JESSE ORTIZ
17                                                        Attorney for defendant
                                                          Leobardo Martinez-Carranza
18

19
     DATED: August 1, 2017
20                                                        /s/ Toni White
                                                   By:
21                                                        TONI WHITE
                                                          Attorney for defendant
22                                                        Bradley Gene Ward

23
     DATED: August 1, 2017
24                                                        /s/ David Grow
                                                   By:
25                                                        DAVID GROW
                                                          Attorney for defendant
26                                                        William James Welch

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 1                                                    ORDER

 2

 3          Pursuant to stipulation of respective counsel for the parties, and good cause appearing therefrom,

 4 the Court adopts the stipulation of the parties in its entirety as its ORDER.

 5          The Court hereby finds that:

 6                   1.     The denial of the requested continuance would deny respective counsel for

 7          defendants Leobardo Martinez-Carranza, Bradley Gene Ward, and William James Welch the

 8          reasonable time necessary for effective preparation, taking into account the exercise of due

 9          diligence.

10                   2.     The ends of justice served by the granting of such continuance outweigh the best

11          interests of the public and these defendants in a speedy trial.

12          Therefore, it is hereby ORDERED that:

13          1.       The presently set August 3, 2017, status conference hearing be continued to September 7,

14          2017, at 9:30 a.m. for these defendants only.

15           2.      Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (iv) and Local Code T4, time is excluded

16 from the date of the parties’ stipulation, August 1, 2017, until the proposed September 7, 2017, status

17 conference hearing date from computation of time within which the trial of this matter must be

18 commenced to allow each defense counsel time to prepare his/her client's defense.

19

20 DATED: August 1, 2017

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                                                                 Troy L. Nunley
23                                                               United States District Judge

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